Case 2:17-cv-07450-MCA-MAH Document 31 Filed 03/06/19 Page 1 of 1 PageID: 674



                                          LAW OFFICES OF

                                      LAWRENCE KATZ
                                       70 East Sunrise Highway
                                             SUITE 500
                                  VALLEY STREAM, NEW YORK 1I581
                                          lkatz@lawkatz.com
            TELEPHONE                                                              FAX
           (516) 374-2118                                                    (516) 544-8878


Via ECF
Honorable Michael A. Hammer, Magistrate Judge
United States District Court for the District of New Jersey
50 Walnut Street 2C
Newark, NJ 07101

                                                                 March 6, 2019

Re: Hager v. National Recovery Agency, Case No: 2:17-cv-07450-MCA-MAH

Honorable Judge Hammer:

        I represent Amanda Hager, the Plaintiff. By order dated January 9, 2019, the Court
directed the parties to submit a joint status letter, in advance to the upcoming status conference,
which is scheduled for March 14, 2019.
        This case involves several claims alleged under the Fair Debt Collection Practices Act.
Plaintiff accepted Defendant’s offer of judgment as to Plaintiff’s claim. The offer included
reasonable counsel fees and costs and the parties are deadlocked on resolving the amount for
attorney fees.
       The current status of this case is that Plaintiff’s motion for attorney fees is currently
pending, to which Defendant filed an opposition and Plaintiff filed a reply. As of today, no order
deciding the motion has been entered.
       Plaintiff’s Position: Shall the District Court judge so desire that your honor decide the
motion on a report and recommendation, Plaintiff will consent to that.
     Defendant’s position: Plaintiff forwarded the within letter to counsel for Defendant.
However, counsel for Defendant has not responded or submitted a letter to the undersigned.


                                                      Respectfully submitted,

                                                      / s / Lawrence Katz

                                                      Lawrence Katz
